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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
ELECTRONIC PRIVACY                  )
INFORMATION CENTER,                 )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )   Civil Action No. 14–1217 (RBW)
                                    )
CUSTOMS AND BORDER                  )
PROTECTION,                         )
                                    )
                  Defendant.        )
___________________________________ )

                                            ORDER

       The plaintiff, Electronic Privacy Information Center, brings this case against the Customs

and Border Protection under the Freedom of Information Act (the “FOIA”), 5 U.S.C. § 552

(2012), alleging the defendant failed “to disclose documents in response to [its] April 8, 2014

[FOIA] request.” See Complaint for Declaratory and Injunctive Relief (“Compl.”) ¶¶ 1–2.

Currently before the Court is Defendant’s Partial Consent Motion for Enlargement of Time to

File Summary Judgment Motion, (“Def.’s Mot.”), ECF No. 14, which the plaintiff opposes, see

Plaintiff’s Memorandum of Points and Authorities in Opposition to Defendant’s Motion for an

Extension of Time (“Pl.’s Opp’n”), ECF No. 15.

       In its motion, filed the same day its motion for summary judgment was due to be filed,

see March 25, 2015 Minute Order, the defendant represents that it has prepared a draft Vaughn

declaration, reviewed the declaration and conferred with the agency regarding revisions, and

released a thirty-four page, previously withheld document, see Def.’s Mot. at 1–2. Due to the

“press of business,” the defendant requests “an enlargement of time of three weeks to, and




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including, June 8, 2015, to file a motion for summary judgment . . . .” Id. at 1. The plaintiff only

consents to a one week extension. Id. at 1; Pl.’s Opp’n at 2, ¶ 7.

       While the Court is sympathetic to the defendant’s workload, it is also sympathetic to the

plaintiff’s concerns about the time it has taken the defendant to respond to its FOIA request.

However, given that the plaintiff has chosen not to file a motion for summary judgment, it will

not suffer any undue prejudice by the Court’s granting the defendant additional time to complete

and file its motion for summary judgment. Moreover, it is in the interest of judicial economy for

the matter to be well briefed prior to the Court’s resolution. However, because the defendant

filed its motion on the very day that its motion for summary judgment was due, presumably

assuming that the motion would be granted, the defendant’s deadline shall only be extended for a

period of fourteen days rather than the twenty-one days requested.

       For the forgoing reasons, it is hereby

       ORDERED that the Defendant’s Partial Consent Motion for Enlargement of Time to File

Summary Judgment Motion is GRANTED IN PART AND DENIED IN PART NUNC PRO

TUNC. It is further

       ORDERED that the defendant shall file its motion for summary judgment on or before

May 29, 2015.

       SO ORDERED this 19th day of May, 2015.

                                                             REGGIE B. WALTON
                                                             United States District Court




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